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Attorney for Plaintiff

IN THE UNITED STATES DESTRICT COURT

FOR THE DISTRICT OF HAWAII

 

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C:vIL NG.:'

 

JOCELYN RAM:L §
) _
elaintifi, > COMPLAINT; EXHIBITS “A”; i{§§§;
) SUMMONS 1
ve. )
)
LEADINS EDGE RECOVERY )
SOL§T:QNS, LLC., )
)
Defendant. )
)
MNI

COMES NOW Plaintiff, by and through‘ her undersigned

attorney and alleges as followe:
INTRODUCTION

1. Thie Complaint ia filed and these proceedings are
instituted under the "Fair Debt Cellection Practices Act" 15 H.S.C.
Section 1692, et aeg., to recover actual and atatutcry damagea,
reaeonable aeterney*e fees and Coets 05 emit by reason of the
Defendant‘e violations cf that Act. Plaintiff Seeke actual and
statutory damages arising cut cf Defendant'e mierepreeentatione and
failure to make required diecloauree in. the collection. cf an

alleged debt.

 

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JURZSBICTION
2. The jurisdiction.of this Court is invoked pursuant to
15 U.S.C.A. Section 1692k{d) and 28 U.S.C.A. Section 1337. The
supplemental jurisdiction of this Court is invoked.over Connt IE of
the Complaint, Which arises under Chapters 443B and 480 of the

Hawaii Revised Statntes.

PARTIES
3. Plaintiff is a natural person and is a resident of
the State of Hawaii.
4. Befendants is a corporation doing business in the

State of Hawaii as a collection agency and debt collector, and is

subject to the jurisdiction of this Court.

§BQ§§

5. Within the year prior to the filing of this action,
Defendant has been attempting on behalf of a third party to collect
an alleged debt from Plaintiff.

6. On or about February 23, 2006, De§endant sent its
first letter to Plaintiff. A true copy of that letter is attached
hereto as Exhibit “A”.

7. On or about March 7, 2006, Plaintiff's attorney'spoke
with Defendant,

8. Shortly thereafter, Defendant sailed Plaintiff and
Plaintiff told Defendant that they should talk to her attorney.

Defendant said that they wanted to settle with her, not her lawyer,

 

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and that if not, they would sue Plaintiff and garnish her wages.

9. ®uring the period March 13 through March 30, 2096,
Defendant called Plaintif§ at her place of employment and spoke
with various of Plaintiff’s co-Workers about this case, and told
them that Defendant Would sue Plaintiff ii she did not call and
resolve her problem.

10. On or about April 3, 2005, Plaintiff’s attorney
taxed a letter to Befendant, and again sent that fan on or about
April 5, 2006.

11. On or about April lG, 2006, Ylaintiff’s attorney
spoke with Defendant about the case again Wherein Defendant
declined the offer set forth by Plaintiff's attorney.

12. Thereafter, on several occasions, Detendant again
called ?laintiff directly attempting to collect the debt.

13. The underlying debt was incurred primarily for

personai, family, or household purposes.

COUNT §
ls. Plaintiff realleges and incorporates paragraphs 1
through 10 of this Complaint.
15. Befendant has violated the Fair Debt Collection

Practices net in the following Ways:
{a) Detendant has used ialse, deceptive and
misleading misrepresentations in connection With the collection of

the above claim in violation of 35 U.S.C‘ §§692e.

 

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(b) Defendant has used unfair means to collect and
to attempt to collect the above claim in violation of 15 U.S.C.
§1692§.

(c) Defendant has not sent to Plaintiff the proper
notices and/or verifications required by the.Act in violation of i§
U.s.c. §1692§.

(d) befendant has violated 25 U.S.C. §1692c.

COUNT § l

16. Plaintiff realleges and incorporates paragraphs 1
through 17 of this Compiaint.

18. Defendant has violated Chapters 4433 and 480 ot the
Hawaii Revised Statutes as aileged above.

19. Defendant’s violations of HRS Chapter 443§ and of
the Fair Debt Collection Practices Act constitute unfair' and
deceptive acts or practices in violation of H.R,S. Chapter 480.

28. Defendant's contacts, demands and disclosures in
connection With the abovewdescribed coiiection were immoral,
unethical, oppressive, unscrupulous, and substantially'injurious to
Plaintiff as a consumer, and were unfair and deceptive, in
violation of H.R.S. Chapter 480. The acts and representations of
Defendant described herein had the capacity of deceive Plaintiff.

21. Plaintiff has suffered injury to her property in an

amount to be proved at trial, by reason of Defendant's violations.

 

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WHEREFORE, Plaintiff prays that the Court:

reiterated

l. Award Plaintiff her actual damages as Will be proved.

2. Award Plaintiff statutory damages of $lOOG.OO.

AS TO COUNT ll

3. Award Plaintiff damages in the amount of three times
the injury to her property, but not less than $1009.00.

AS TO ALL COUNTS

4. nward.Plainti§f reasonable attorneys' fees and costs.

5. Award Plaintiff other appropriate relief.

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JOHN HARRZS PAER
Attorney for Plaintiff

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